

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,561






EX PARTE JOHNNY ALISON GRANT, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. CR-04-459-A IN THE 22nd DISTRICT COURT


FROM HAYS COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
assault resulting in serious bodily injury and sentenced to five years' imprisonment. 

	Applicant contends that his counsel rendered ineffective assistance because she failed to
timely file a notice of appeal.  We remanded this application to the trial court for findings of fact and
conclusions of law.

	The trial court has determined that trial counsel failed to timely file a notice of appeal.  We
find, therefore, that Applicant is entitled to the opportunity to file an out-of-time appeal of the
judgment of conviction in Cause No. CR-04-459-A from the 22nd Judicial District Court of Hays
County, Texas.  Applicant is ordered returned to that time at which he may give a written notice of
appeal so that he may then, with the aid of counsel, obtain a meaningful appeal.  All time limits shall
be calculated as if the sentence had been imposed on the date on which the mandate of this Court
issues.  We hold that, should Applicant desire to prosecute an appeal, he must take affirmative steps
to file a written notice of appeal in the trial court within 30 days after the mandate of this Court
issues.


Delivered: November 22, 2006

Do Not Publish


